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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


CLIMATE UNITED FUND
7550 Wisconsin Avenue 8th Floor
Bethesda, Maryland 20814
                                                        ECF CASE
                             Plaintiff,
                                                        No. 1:25-cv-00698
       v.

CITIBANK, N.A.,
5800 South Corporate Place
Sioux Falls, South Dakota 57108,

        and

UNITED STATES ENVIRONMENTAL
PROTECTION AGENCY
1200 Pennsylvania Avenue, N.W.
Washington, D.C. 20460,

        and

LEE ZELDIN, in his official capacity as
ADMINISTRATOR, UNITED STATES
ENVIRONMENTAL PROTECTION
AGENCY
1200 Pennsylvania Avenue, N.W.
Washington, D.C. 20460

                             Defendants.


      [PROPOSED] ORDER GRANTING TEMPORARY RESTRAINING ORDER

       Upon consideration of Plaintiff’s Motion for a temporary restraining order and

accompanying brief, it is hereby

       ORDERED that the Motion is GRANTED; it is further

       ORDERED that Defendant Citibank, N.A. must comply with its contractual obligations

under the Account Control Agreement, including by disbursing grant funds to which Climate
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United is entitled at Climate United’s request in accordance with the Account Control

Agreement, both with respect to requests Climate United has already submitted and future

requests; it is further

        ORDERED that the Environmental Protection Agency, Administrator Lee Zeldin in his

official capacity as Administrator of EPA, and others in active concert or participation therewith,

are ENJOINED from impeding Citibank from complying with its contractual obligations, or

otherwise causing Citibank to deny, obstruct, delay, or otherwise prevent Climate United from

accessing its funds as provided for under the terms of the Account Control Agreement and the

grant award; further

        Defendants the Environmental Protection Agency, Administrator Zeldin in his official

capacity as Administrator of EPA, and others in active concert or participation therewith, are

ENJOINED from unlawfully suspending or terminating Climate United’s grant award except as

is permitted in accordance with the Account Control Agreement, the grant award, and applicable

law.

        SO ORDERED.



Dated: March ___, 2025                               _____________________________

                                                     THE HON. ___________________
                                                     UNITED STATES DISTRICT JUDGE




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                         NAMES OF PERSONS TO BE SERVED
                        WITH PROPOSED ORDER UPON ENTRY


       Pursuant to Local Civil Rule 7(k), below are the names and addresses of persons entitled

to be notified of entry of the above Proposed Order:

Winn Allen
KIRKLAND & ELLIS LLP
1301 Pennsylvania Avenue, N.W.,
Washington, D.C. 20004

ENVIRONMENTAL PROTECTION AGENCY
1200 Pennsylvania Avenue, N.W.
Washington, D.C. 20460

LEE ZELDIN, in his official capacity as Administrator
Environmental Protection Agency
1200 Pennsylvania Avenue, N.W.
Washington, D.C. 20460.

PAMELA BONDI, in her official capacity as Attorney General of the United States
U.S. Department of Justice
950 Pennsylvania Avenue, N.W.
Washington, D.C. 20530

EDWARD MARTIN, in his official capacity as U.S. Attorney for the District of Columbia
c/o Civil Process Clerk
United States Attorney’s Office
601 D Street, N.W.
Washington, D.C. 20530

Adam Unikowsky (DC Bar No. 989053)
David Robbins (DC Bar No. 493976)
JENNER & BLOCK LLP
1099 New York Avenue N.W.
Washington, D.C. 20001




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